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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

FEDERAL INSURANCE COMPANY, et al.                      1:18-cv-02526-PAC

                          Plaintiffs,

              -against-                                NOTICE OF CHARGING LIEN BY
                                                       ABELSON HERRON HALPEN LLP
HARVEY WEINSTEIN,                                      (FORMER ATTORNEYS FOR HARVEY
                                                       WEINSTEIN)
                          Defendant.

HARVEY WEINSTEIN,

                          Counterclaimant,

              -against-

FEDERAL INSURANCE COMPANY, CHUBB
INDEMNITY INSURANCE COMPANY,
VIGILANT INSURANCE COMPANY,
PACIFIC INDEMNITY INSURANCE
COMPANY, and GREAT NORTHERN
INSURANCE COMPANY,

                          Counter-Defendants.

HARVEY WEINSTEIN,

                          Third-Party Plaintiff,

              -against-

NATIONAL UNION FIRE INSURANCE
COMPANY OF PITTSBURGH, PA, et al.

                          Third-Party Defendants.


       PLEASE TAKE NOTICE that pursuant to Section 475 an 475-a of the Judiciary Law of

the State of New York, ABELSON HERRON HALPERN LLP, former attorneys for

Defendant and Counterclaimant Harvey Weinstein, has a charging lien upon the proceeds of Mr.

Weinstein’s adversary action with Federal Insurance Company, Chubb Indemnity Insurance

                                                   1
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Company, Vigilant Insurance Company, Pacific Indemnity Insurance Company and Great

Northern Insurance Company – including all cross-claims, counterclaims, and third party

complaints – in whatever hands they may come, in the amount of TWO HUNDRED FORTY

ONE THOUSAND FIVE HUNDRED NINETY SEVEN DOLLARS AND 24/100’s

($241,597.24), plus interest, in legal fees and disbursements.


               This lien shall not be affected by any settlement between the parties before or

after judgment, final order or other determination.


               PLEASE TAKE FURTHER NOTICE that pursuant to applicable law, anyone

who disregards said lien may be held to be personally liable to ABELSON HERRON

HALPEN LLP. Judiciary Law §475; LMWT Realty Corp. v. Douglas Agency, Inc., 85 N.Y.2d

462, 649 N.E. 2d 1183, 626 N.Y.S. 2d 3d (1995).

Dated: May 22, 2019                          Respectfully submitted,


                                             By: /s/ Timothy J. Pastore
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